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 5
                              UNITED STATES DISTRICT COURT
 6                           WESTERN DISTRICT OF WASHINGTON
                                       AT SEATTLE
 7
     UNITED STATES OF AMERICA,        )
 8                                     )                 NO.    CRO6-0041RSL
                      Plaintiff,       )
 9                                     )
                v.                     )                 ORDER CONTINUING TRIAL DATE
10                                     )
     PAUL FOSTER,                     )
11                                     )
                      Defendant.       )
12   _________________________________)
13                                              ORDER
14            The Court, having reviewed the records and files herein, enters the following
15   order:
16            1.     Defendant Paul Foster has been charged with Accessory After the Fact to
17   Violent Crime in Aid of Racketeering (Murder), pursuant to 18 U.S.C. § 3. This Court
18   has entered an Order severing defendant Foster’s trial from his co-defendants, and an
19   Order continuing the trial date of his co-defendants to March 5, 2007.
20            2.     Defense counsel for several co-defendants acknowledge the need for a
21   continuance. Defendant Foster, who is out of custody, has not opposed a motion to
22   continue the trial date. The Court finds that the interests of justice require that a trial of
23   Foster’s co-defendants, all of whom are in custody, occur before Foster’s trial. This
24   ensures that the defendants in pretrial detention will be tried within 13 months of their
25   arrest, and that their trial will not be delayed based upon the need to conduct defendant
26   Foster’s trial first.
27            3.     The Court also finds that several weeks of delay are now excludable under
28   the Speedy Trial Act. The following periods of delay are excluded in computing the time

     Order Continuing Trial Date /Foster — 1                                         UNITED STATES ATTORNEY
     CR06-0041RSL                                                                     700 Stewart Street, Suite 5220
                                                                                     Seattle, Washington 98101-1271
                                                                                              (206) 553-7970
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 1   within which the trial of an offense must commence: “[D]elay resulting from any pretrial
 2   motion, from the filing of the motion through the conclusion of the hearing on, or other
 3   prompt disposition of, such motion.” 18 USC 3161(h)(1)(F). A number of pretrial
 4   motions have been filed in this case, including at least one motion filed by defendant
 5   Foster, which require evidentiary hearings. Moreover, the resolution of motions filed by
 6   other defendants may have a bearing on evidence admitted in Foster’s trial.
 7          4.       In light of the above, the Court finds that the ends of justice outweigh the
 8   best interest of the public and the defendants in a speedy trial, and finds that a trial
 9   continuance is reasonable as to defendant Foster. This case is so complex, given the
10   number of all defendants, and the nature of the prosecution, that it would be unreasonable
11   to expect the parties to adequately prepare for pretrial proceedings or the trial itself by the
12   January 8, 2007 trial date. See 18 USC § 3161(h)(8)(B)(ii). Failure to grant a
13   continuance based upon the circumstances pertaining to all defendants would result in a
14   miscarriage of justice, in that defense counsel and the government would not have
15   adequate time to prepare the matter for trial. The continuance provides counsel a
16   reasonable amount of time necessary for effective preparation, taking into account the
17   exercise of diligence. See 18 USC 3161(h)(8)(B)(i).
18          IT IS HEREBY ORDERED that the trial date is continued from January 8, 2007 to
19   June 4, 2007.
20          IT IS FURTHER ORDERED that pursuant to Title 18, United States Code,
21   Section 3161(h), the period of time from the date of this order to the new trial date is
22   excluded in the computation of time under the Speedy Trial Act.
23          DONE this 20th day of December, 2006.
24

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                                                                A
                                                                Robert S. Lasnik
                                                                United States District Judge
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     Order Continuing Trial Date /Foster — 2                                        UNITED STATES ATTORNEY
     CR06-0041RSL                                                                    700 Stewart Street, Suite 5220
                                                                                    Seattle, Washington 98101-1271
                                                                                             (206) 553-7970
